                                                                   READ INSTRUCTIONS ON THE NEXT PAGE
                                                                              TRANSCRIPT ORDER
                                                  List on this form all transcript you are ordering from one court reporter.
                                  Use a separate form for each reporter and docket each form separately in the Sixth Circuit ECF database.

District Court    Middle District of Tennessee                                      District Court Docket Number    3:12-cv-1250
Short Case Title    Sabrina Corley v. Wal-Mart Stores East, LP
Date Notice of Appeal Filed by Clerk of District Court   2/26/15                                                   COA#   15-5202
PART I (TO BE COMPLETED BY PARTY ORDERING TRANSCRIPT, THE FORM MUST BE SIGNED WHETHER OR NOT TRANSCRIPT IS ORDERED).
A. Complete one of the following:
      No Hearings
      Transcript is unnecessary for appeal purposes
    ✔ Transcript is already on the file in District Court Clerk’s Office


      This is to order a transcript of the following proceedings: (specify exact dates of proceedings)

                                               JUDGE MAGISTRATE                             HEARING DATE(S)                            COURT REPORTER

          Pre-trial proceedings

          Testimony (specify witnesses)




          Other (specify)

TRANSCRIPT OF THE FOLLOWING PROCEEDINGS WILL BE PROVIDED ONLY IF SPECIALLY AUTHORIZED. SEE ITEM 13 CJA FORM 24
                       Voir Dire                                    Opening statement of plaintiff            Opening statement of defendant
                       Jury Instructions                            Closing argument of plaintiff             Closing argument of defendant

FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED, OR FAILURE TO MAKE PROMPT SATISFACTORY FINANCIAL ARRANGEMENTS
FOR TRANSCRIPT, ARE GROUNDS FOR DISMISSAL OF THE APPEAL.

B. This is to certify that satisfactory financial arrangements have been completed with the court reporter for payment of the cost of the transcript.
   This method of payment will be:
               Criminal Justice Act (Attach copy of CJA Form 24)
            ✔ Private Funds


               Date: 3/12/15

Signature   s/ G. Andrew Rowlett                            Print Name   G. Andrew Rowlett                           Counsel for   Wal-Mart Stores East, LP

Address   300 James Robertson Parkway, Suite 300, Nashville, TN 37201                                                Telephone     615-921-5215

                                        ALLOWANCE BY THE COURT OF LEAVE TO PROCEED IN FORMA PAUPERIS IN A CIVIL APPEAL
                                           DOES NOT ENTITLE THE LITIGANT TO HAVE TRANSCRIPT AT GOVERNMENT EXPENSE.


PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the Court Reporter and forwarded to the Court of Appeals within 10 days after receipt).
 Date transcript order                  Estimated completion date; if not within 30 days of the date financial               Estimated number of pages
 received                               arrangements made, motion for extension to be made to Court of Appeals




                                              Arrangements for payment were made on
                                              Arrangements for payment have not been made pursuant to FRAP (10(b))


                 Date                                                Signature of Court Reporter                             Telephone

PART III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by Court Reporter on date of filing transcript in District Court
          and notification must be forwarded to Court of Appeals on the same date).

       This is to certify that the transcript has been completed and filed with the District Court today.

                                              Actual Number of Pages                                        Actual Number of Volumes



                   Date                                                               Signature of Court Reporter

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3/10
                        INSTRUCTIONS FOR ANYONE ORDERING TRANSCRIPT

YOU HAVE TEN DAYS AFTER FILING YOUR NOTICE OF APPEAL TO COMPLETE THIS FORM BY DOING THE
FOLLOWING:

  1.   Complete Part 1. Sign the form whether or not transcript is ordered. If ordering transcript list on the
       form all transcript being ordered from one court reporter.

  2.   Contact each court reporter involved in reporting the proceedings to make arrangements for payment.
       A separate transcript order form must be prepared for each court reporter and then docket
       separately in the Sixth Circuit ECF database.

  3.   Send four (4) copies to each court reporter.

  4.   Attorney’s must electronically file with the Clerk’s office. Pro Se litigants are to mail the form.

           Clerk’s Office Mailing Address

           United States Court of Appeals
           540 Potter Stewart U.S. Courthouse
           100 East Fifth Street
           Cincinnati, Ohio 45202

  5.   Send a copy to appellee(s). Make additional photocopies if necessary.

  6.   Retain a copy for your files.


SHOULD SATISFACTORY ARRANGEMENTS FOR TRANSCRIPT PRODUCTION, INCLUDING NECESSARY
FINANCIAL ARRANGEMENTS, NOT BE MADE WITHIN TEN (10) DAYS AFTER FILING YOUR NOTICE OF APPEAL,
YOUR APPEAL CAN BE DISMISSED.


If you have further questions, contact the Clerk's Office, U.S. Court of Appeals for the Sixth Circuit:
513-564-7000.




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